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                      EXHIBIT F
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  01:00:00                                TITLE SEQUENCE

  01:00:00                                GRAPHICS ON SCREEN:
                                          MURDAUGH
                                          MURDERS
                                          DEADLY DYNASTY

  01:00:15                                GRAPHICS ON SCREEN:
                                          Colleton County, SC

  01:00:27   Anne Emerson                 Gloria Satterfield was the Murdaugh
                                          housekeeper. Gloria saw the Murdaughs as
                                          part of her extended family. So, when Alex
                                          came up to the boys at the funeral of their
                                          mother and said, "I’m gonna pay you through
                                          my insurance because your mother died on
                                          my property." They believed him. They
                                          trusted him implicitly, that he was going to do
                                          the right thing by them. In 2019, when the
                                          boys find out that there's a settlement of over
                                          half a million dollars, they were shocked.

  01:00:35                                GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

  01:00:57                                GRAPHICS ON SCREEN:
                                          IN THE COURT OF COMMON PLEAS
                                          Civil Action No. 2018-CP-25-

                                          PETITION FOR APPROVAL OF
                                          WRONGFUL DEATH SETTLEMENT

  01:01:05   Drew Tripp                   Gloria’s sons they know nothing about it.

  01:01:09   Anne Emerson                 To understand the full picture here, we have
                                          to go back in time. In 2015, six years before
                                          the double murders of Paul and Maggie
                                          Murdaugh, Alex allegedly opened a bank
                                          account with Bank of America, and it was
                                          called Forge. Forge is also the name of a very
                                          legitimate group that handles these kind of
                                          settlement claims.

  01:01:12                                GRAPHICS ON SCREEN:
                                          Date rolling back to 2015.

  01:01:36                                GRAPHICS ON SCREEN:
                                          FORGE
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                                          CONSULTING, LLC

  01:01:38   Michael Virzi                Forge Consulting is a settlement funding
                                          company out of Atlanta. It's for people who
                                          are coming into large settlements. It manages
                                          your money for you, in a sense, by doling out
                                          money in small amounts over time rather than
                                          giving you a lump sum of money.

  01:01:45                                GRAPHICS ON SCREEN:
                                          MICHAEL VIRZI

                                          Attorney, Legal Ethics Expert

  01:01:50                                GRAPHICS ON SCREEN:
                                          Graphic showing text of Forge's website.

  01:01:53   Anne Emerson                 So, any lawyer that hears the name Forge is
                                          gonna immediately identify with Forge
                                          consulting.

  01:02:01                                GRAPHICS ON SCREEN:
                                          PAY

                                          TO
                                          THE FORGE
                                          ORDER OF

  01:02:02   Michael Virzi                That made it look as though the settlement
                                          went through Forge Consulting in a legitimate
                                          settlement funding annuity <SNIFFS> but
                                          instead, that was his personal bank account.

  01:02:14                                GRAPHICS ON SCREEN:
                                          Date rolling forwards to 2018.

  01:02:17   Drew Tripp                   So, after Gloria dies in 2018, Alex Murdaugh
                                          approaches Gloria's sons and pitches them an
                                          idea to sue him so that they can get wrongful
                                          death settlement money on her behalf and be
                                          taken care of financially.

  01:02:21                                GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

  01:02:37   Michael Virzi                Alex did, in fact, represent them in the lawsuit
                                          against himself. It's ethically impermissible,
                                          but it's not physically impossible. He did it
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                                          with co-counsel Corey Fleming.

  01:02:50   Michael Virzi                They agreed to be represented by Corey and
                                          Alex.

  01:02:56   Gregg Roman                  But Alex did not make known to Tony
                                          Satterfield that this was someone who he had
                                          been close to for the better part of three
                                          decades.

  01:03:01                                GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist

  01:03:07   Michael Virzi                And, instead of being loyal to his clients and
                                          making sure that Brian and Tony were taken
                                          care of, he apparently did whatever Alex told
                                          him to do.

  01:03:18   Michael Virzi                Corey Fleming came to them and said, “This
                                          is complicated stuff. Let's get a
                                          businessperson involved. Let's get someone
                                          else to represent your mother's estate.”
                                          Because somebody has to go in front of the
                                          judge and say this is okay.

  01:03:35   Anne Emerson                 And the boys say, “Yes, of course, if we need
                                          to have a personal representative, we'll have a
                                          personal representative.” So we introduce a
                                          new character to this whole scenario and that's
                                          a man named Chad Westendorf.
                                          He's the vice president at the Palmetto State
                                          Bank. He's a very powerful man in a powerful
                                          position. Once Chad Westendorf is the
                                          personal representative, he does not have to
                                          talk to the boys anymore about what's going
                                          on with the settlement money.

  01:04:05   Anne Emerson                 That's the last the boys hear about where that
                                          money actually is.

  01:04:15   Anne Emerson                 Within twenty-four hours of Chad Westendorf
                                          taking on this new role, Corey Fleming files
                                          the first claim against Alex Murdaugh for
                                          $505,000 but there were two insurance
                                          settlements that happened.

  01:04:27                                GRAPHICS ON SCREEN:
                                          Graphic showing the check paid out to Chad
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                                          Westendorf for the settlement of $505,000.

  01:04:31   Michael Virzi                So, the first settlement approval was the
                                          $505,000 and then Murdaugh also had
                                          another policy

  01:04:40   Anne Emerson                 And that money is a substantial amount. It's
                                          3.8 million dollars.

  01:04:47   Michael Virzi                Both of the insurance companies paid a total
                                          of 4.3 million dollars.

  01:04:54   Michael Virzi                And by bringing Chad Westendorf in, they
                                          were able to keep it from the Satterfields.

  01:05:00                                GRAPHICS ON SCREEN:
                                          Graphic showing who the payments were
                                          authorized by for the settlements.

  01:05:00   Anne Emerson                 Once it's passed through Chad Westendorf,
                                          Corey Fleming, within this Forge bank
                                          account, it ends up in the hands of Alex
                                          Murdaugh Chad Westendorf and Corey
                                          Fleming say they had no party to this whole
                                          alleged scheme to defraud the Satterfields.
                                          Each says that he’s a pawn of Alex
                                          Murdaugh.

  01:05:26   Michael Virzi                The Satterfields didn't know until years later
                                          that there was any settlement at all. They
                                          learned about the first part of the settlement,
                                          the $500,000, when it was reported by a local
                                          reporter who was looking into the boat crash.

  01:05:31                                GRAPHICS ON SCREEN:
                                          Graphic showing parts of an article about the
                                          boat crash in which Mallory Beach died and
                                          settlement claims.

  01:05:42   Anne Emerson                 Tony and his brother. Get a lawyer involved
                                          to find out what's happened to their mother's
                                          money, the money that was supposed to come
                                          to them.

  01:05:50                                GRAPHICS ON SCREEN:
                                          The Satterfield's attorneys launch a
                                          financial investigation.
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  01:05:56   Michael Virzi                There's gonna be a paper trail when it comes
                                          to money. There were checks and when
                                          checks are deposited there's ink on the back
                                          that says exactly what bank account it went
                                          to, and those records exist, and those records
                                          are discoverable, right? You can always find
                                          where the money went.

  01:05:59                                GRAPHICS ON SCREEN:
                                          One Hundred Eighteen Thousand Dollars

                                          PAY

                                          TO
                                          THE FORGE
                                          ORDER
                                          OF

  01:06:14   Gregg Roman                  Tony Satterfield, because of the unsolved
                                          death of his mother, still does not know what
                                          actually happened on that day. The only thing
                                          he knows is he was robbed by Alex
                                          Murdaugh, an attorney, who was supposed to
                                          represent his interests.

  01:06:28   Linda Hiers                  After Maggie and Paul were murdered, when
                                          everything came out of Alex doing what he
                                          did to Tony and Brian, I was in disbelief. He's
                                          always been like family. And I just couldn't
                                          believe that he did this to these boys. To this
                                          day, I still can't believe it.

  01:06:51                                GRAPHICS ON SCREEN:
                                          Graphic showing various amounts that were
                                          paid to the Forge account in Alex Murdaugh's
                                          name.

  01:06:51   Michael Virzi                Seeing that name Forge and realizing what he
                                          had done, the first thing some of us thought
                                          was this can't be the first time, right? Is there
                                          more? Are there more victims out here?

  01:07:05                                Break 1

  01:07:14   Michael Virzi                You can hide financial crimes for a while but
                                          you get that one drop of sugar in the glass,
                                          and the evidence is gonna be there to make
                                          the rest of it fall to the bottom.
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  01:07:20                                GRAPHICS ON SCREEN:
                                          MICHAEL VIRZI

                                          Attorney, Legal Ethics Expert

  01:07:26                                GRAPHICS ON SCREEN:
                                          Graphic showing various amounts that were
                                          paid to the Forge account in Alex Murdaugh's
                                          name.

  01:07:27   Kimberly Brant               When you start tracing money and you get in
                                          people's financials and you know who they're
                                          paying money to, the books are open. You
                                          can't put the genie back in the bottle. You
                                          better go ahead and just fess up and tell the
                                          truth.

  01:07:34                                GRAPHICS ON SCREEN:
                                          KIMBERLY BRANT
                                          Hampton Native

  01:07:39   Drew Tripp                   All this trouble with Alex Murdaugh, once
                                          that all starts snowballing there is mounting
                                          evidence he was potentially involved in more
                                          criminal behavior than what was presently
                                          known.

  01:07:42                                GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

  01:07:53   Michael Virzi                It appears that he had spent years and years
                                          defrauding people. And so, we're starting to
                                          see a lot of these people starting come out of
                                          the woodwork.

  01:08:02                                GRAPHICS ON SCREEN:
                                          2018

  01:08:05   Anne Emerson                 One of the more heartbreaking cases to
                                          emerge after the revelations of the Satterfields
                                          was Lieutenant Tommy Moore, a state
                                          highway patrol trooper for South Carolina
                                          who was involved in a terrible accident on the
                                          job. This was three years before the murders
                                          of Maggie and Paul Murdaugh. The accident
                                          happened during what we called
                                          Snowmageddon down here. It probably snows
                                          once in a blue moon. A major snowstorm for
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                                          us in January of 2018.

  01:08:06                                GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

  01:08:27                                GRAPHICS ON SCREEN:
                                          Date rolling back to 2018.

  01:08:47                                GRAPHICS ON SCREEN:
                                          On January 4, 2018, Officer Thomas Moore
                                          responds to an overturned vehicle.

  01:08:55   Thomas Moore                 The road was iced over in most places and we
                                          had wrecks galore. I was parked completely
                                          off the road with my blue lights on, the next
                                          thing I knew I just felt a big jolt and my seat
                                          broke and threw me backwards.

  01:09:02                                GRAPHICS ON SCREEN:
                                          January 9, 2022
                                          WCIV-TV

  01:09:02                                GRAPHICS ON SCREEN:
                                          THOMAS MOORE
                                          South Carolina Highway Patrol

  01:09:14   Anne Emerson                 Trooper Moore said that when that car
                                          slammed into the back of him, he knew
                                          something was very wrong.

  01:09:22   Thomas Moore                 I had an extreme amount of pain in my neck
                                          and it basically felt like I was being shocked
                                          with an electric current.

  01:09:31   Anne Emerson                 After the accident, the doctors diagnose him
                                          with a sprained neck. So, he gets treated for
                                          that, but the pain never really goes away and
                                          workmen's comp is just diagnosing and
                                          treating a sprained neck.

  01:09:51   Thomas Moore                 Things were not getting better they were
                                          getting worse. It just felt like a hopeless
                                          situation.

  01:09:55                                GRAPHICS ON SCREEN:
                                          January 9, 2022
                                          WCIV-TV
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                                          THOMAS MOORE
                                          South Carolina Highway Patrol

  01:09:58   Anne Emerson                 Trooper Moore had to do something, so he
                                          paid out of pocket and went and saw a doctor
                                          for himself and what he discovers is that it's
                                          not just a sprained neck.

  01:10:09   Thomas Moore                 I had some fractures, and that I needed
                                          surgery basically now. the workmen's comp
                                          denied my claim and that they were not
                                          paying for surgery, and so I knew, you know,
                                          at that point somebody's got to pay the bills,
                                          nobody is gonna do it for free.

  01:10:12                                GRAPHICS ON SCREEN:
                                          January 9, 2022
                                          WCIV-TV


                                          THOMAS MOORE
                                          South Carolina Highway Patrol

  01:10:18                                GRAPHICS ON SCREEN:
                                          January 9, 2022
                                          WCIV-TV


                                          THOMAS MOORE
                                          South Carolina Highway Patrol

  01:10:26   Anne Emerson                 Trooper Moore could not afford to just take
                                          on that kind of expense. He needed a lawyer
                                          and he says that a friend of his pointed him
                                          toward Alex Murdaugh.

  01:10:37   Thomas Moore                 He was confident I had a case. He was
                                          confident that everything would be okay in
                                          the end.

  01:10:41                                GRAPHICS ON SCREEN:
                                          January 9, 2022
                                          WCIV-TV


                                          THOMAS MOORE
                                          South Carolina Highway Patrol
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   01:10:44   Anne Emerson                One of the things Trooper Moore said to me
                                          was he trusted Alex Murdaugh implicitly.
                                          There was never any doubt in his mind, he
                                          said, that Alex Murdaugh would do the right
                                          thing.

   01:10:58   Thomas Moore                I had neck surgery after that. It was well over
                                          $250,000 to my understanding.

   01:11:03                               GRAPHICS ON SCREEN:
                                          January 9, 2022
                                          WCIV-TV


                                          THOMAS MOORE
                                          South Carolina Highway Patrol

   01:11:10   Anne Emerson                Meanwhile, Alex Murdaugh is filing claims
                                          on behalf of Trooper Moore with the
                                          insurance companies, trying to get a
                                          settlement.

   01:11:21   Thomas Moore                My insurance was $100,000 covered and
                                          that's what they paid out.

   01:11:23                               GRAPHICS ON SCREEN:
                                          January 9, 2022
                                          WCIV-TV


                                          THOMAS MOORE
                                          South Carolina Highway Patrol

   01:11:25   Anne Emerson                That is money that is delivered to Trooper
                                          Moore, but before he deposits that check in
                                          his own bank account, he gets specific
                                          instructions from Alex Murdaugh.

   01:11:38   Thomas Moore                When he asked me to bring him the check, I
                                          had no qualms about it. I gave it to him
                                          because I was told that's how it worked. He
                                          told me that it would have to be endorsed by
                                          me, and would have to be in some kind of
                                          frozen account.

   01:11:55   Anne Emerson                Moore says that Alex says "We're gonna put it
                                          into an account that can't be touched until all
                                          of the litigation surrounding your accident is
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                                          finished."

   01:12:09   Anne Emerson                Months go by, he hears nothing about where
                                          his money is. He was running up debt and
                                          credit card bills, he would call and ask and
                                          was told the same story that he just needed to
                                          wait. Trooper Moore never stopped waiting.
                                          Trooper Moore never got that money.

   01:12:33   Anne Emerson                That $100,000 check, it didn't go into a
                                          protected account. It went into the Forge
                                          account. That money went into the same
                                          account that Alex allegedly used for the
                                          Gloria Satterfield money.

   01:12:49   Michael Virzi               It's unethical to deceive people, and when you
                                          start thinking you can get away with things
                                          and you start getting away with things, you
                                          start trying to get away with more things.

   01:12:56                               GRAPHICS ON SCREEN:
                                          More than three years later, after the murders
                                          of
                                          Maggie and Paul, Trooper Moore discovers
                                          where his money went.

   01:13:02                               GRAPHICS ON SCREEN:
                                          Date rolling forward to 2021.

   01:13:04   Anne Emerson                PMPED says that they found out that there
                                          were some irregularities going on in their law
                                          firm. It was money that had been
                                          misappropriated, they said, from clients'
                                          accounts as well as their own.

   01:13:19   Thomas Moore                The Murdaugh Law Firm called me and said,
                                          "Look, Tommy. There's a problem. Your
                                          money's been taken, and it's going to be
                                          replaced. We're putting it back in the account.
                                          But, it was taken. It was taken by Mr.
                                          Murdaugh, and we're not going to hang you
                                          out to dry,"

   01:13:25                               GRAPHICS ON SCREEN:
                                          January 9, 2022
                                          WCIV-TV

   01:13:25                               GRAPHICS ON SCREEN:
                                          THOMAS MOORE
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                                          South Carolina Highway Patrol

   01:13:35                               GRAPHICS ON SCREEN:
                                          January 9, 2022
                                          WCIV-TV


                                          THOMAS MOORE
                                          South Carolina Highway Patrol

   01:13:38   Drew Tripp                  Is this something that Alex Murdaugh have
                                          been doing for years? Did he come up with
                                          this on his own? Or was this something that
                                          was taught him? Was he brought into this? Or
                                          was he the mastermind behind it?

   01:13:59                               Break 2

   01:14:07                               GRAPHICS ON SCREEN:
                                          2021

   01:14:10   Gregg Roman                 Alex Murdaugh, someone seen as protector of
                                          Hampton County, who's now become the
                                          swindler in chief of Hampton County. He
                                          stole from people he was supposed to protect.

   01:14:15                               GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist

   01:14:23   Michael Virzi               It's hard to imagine a clearer and more
                                          obvious case of, of a, a lawyer's breach of
                                          duty to his client. He stole money.

   01:14:24                               GRAPHICS ON SCREEN:
                                          MICHAEL VIRZI

                                          Attorney, Legal Ethics Expert

   01:14:31   D'Michelle Dupre            I wonder how much of any of this Maggie
                                          knew or suspected before Paul and Maggie
                                          were murdered. She purportedly had seen an
                                          attorney for a divorce earlier. Was it because
                                          of things like this?

   01:14:32                               GRAPHICS ON SCREEN:
                                          D'MICHELLE DUPRE

                                          Forensic Pathologist
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   01:14:42                               GRAPHICS ON SCREEN:
                                          Text of various reports relating to the death of
                                          Maggie Murdaugh.

   01:14:48   Drew Tripp                  Alex Murdaugh's attorneys have denied that
                                          Maggie had been seeing a divorce attorney
                                          but this is really kicking into high gear around
                                          Labor Day, about three months after the
                                          murders.

   01:14:56                               GRAPHICS ON SCREEN:
                                          DREW TRIPP
                                          Investigative Producer WCIV TV

   01:15:03   Anne Emerson                What was happening behind the scenes was
                                          enormous in Alex Murdaugh's life. Partners of
                                          the PMPED law firm, that's Alex Murdaugh's
                                          law firm, the family law firm, they discovered
                                          that there was money missing. They say that
                                          there is a suspicious check that shows up on
                                          his desk and that money has been taken out of
                                          clients' and the firm's own accounts. And his
                                          brother and his fellow law partners confront
                                          him.

   01:15:05                               GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

   01:15:38                               GRAPHICS ON SCREEN:
                                          Friday, September 3rd, 2021
                                          Labor Day Weekend

   01:15:48   Drew Tripp                  Alex met with his brother Randy and another
                                          partner at the PMPED law firm.

   01:15:55   Anne Emerson                They confronted Alex Murdaugh about
                                          embezzlement. "What have you been doing?"
                                          "What, what's going on here?"

   01:16:01   Gregg Roman                 Everything starts to fall apart. You lie and you
                                          lie and you lie and you lie and you expect
                                          your narrative to somehow be the truth?

   01:16:04                               GRAPHICS ON SCREEN:
                                          GREGG ROMAN
                                          Investigative Journalist
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   01:16:13   Anne Emerson                Then what happens is something that no one
                                          else could have ever predicted.

   01:16:22   Drew Tripp                  PMPED forces Alex to resign from his
                                          position with his own family's law firm based
                                          on his apparent embezzlement of funds from
                                          the law firm, and stealing of settlement
                                          money from clients.

   01:16:38   Anne Emerson                This is a law firm that goes back more than a
                                          century. His own great-grandfather had
                                          actually founded this law firm.

   01:16:49   Drew Tripp                  Alex’s now exposed misdeeds of stealing
                                          from clients and stealing from his law firm, he
                                          says his world was caving in that day the
                                          same way it had three months earlier when his
                                          wife and son had been killed.

   01:17:08   D'Michelle Dupre            This is a massive fall, from Grace.
                                          Devastation. Alex has certainly never been in
                                          this position before. The family has never
                                          been in this position before. All of a sudden,
                                          everything has basically turned upside down.

   01:17:28   Anne Emerson                There is so much happening at the same time,
                                          coming to a head for Alex Murdaugh in his
                                          life. Not only is he dealing with the double
                                          murders, he's dealing with lawsuits from the
                                          fatal boat crash. He's dealing with accusations
                                          of embezzlement from his own law firm. The
                                          State Law Enforcement Division's looking
                                          into the death of Stephen Smith based on
                                          information that they gathered during the
                                          investigation of Paul and Maggie Murdaugh's
                                          murders, and they are looking into Gloria
                                          Satterfield's death. To fall this hard and this
                                          fast for Alex Murdaugh was an incredible
                                          amount of pressure.

   01:17:37                               GRAPHICS ON SCREEN:
                                          Accident report for the boat accident that
                                          killed Mallory Beach.

   01:17:47                               GRAPHICS ON SCREEN:
                                          A FUNDRAISER EVENT
                                          FOR
                                          Stephen Smith
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   01:17:59                                   GRAPHICS ON SCREEN:
                                              The death certificate for Gloria Satterfield.

   01:18:03                                   GRAPHICS ON SCREEN:
                                              New Charges Filed Against Former South
                                              Carolina Lawyer Alex Murdaugh

   01:18:10                                   GRAPHICS ON SCREEN:
                                              One day later,
                                              Saturday, September 4, 2021

   01:18:17   Female 911 Operator (Archive)   Hampton County 911, what is your
                                              emergency?

   01:18:18                                   GRAPHICS ON SCREEN:
                                              Actual 911 Call
                                              1:34 pm

   01:18:18                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Hampton County 911,
                                              what is your emergency?

   01:18:21   Alex Murdaugh (Archive)         I'm on Salkehatchie Road.

   01:18:21                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              On, um, Salkehatchie Road.

   01:18:23   Female 911 Operator (Archive)   Okay, what's the address on Salkehatchie
                                              Road?

   01:18:24                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Okay. What's the address on
                                              Salkehatchie Road?

   01:18:26   Alex Murdaugh (Archive)         I'm by the church.

   01:18:27                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              I'm by the church. Uh-

   01:18:28   Female 911 Operator (Archive)   What church?
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   01:18:29                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              What church?

   01:18:31   Female 911 Operator (Archive)   What church are you talking about?

   01:18:31                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              What church are you talking about?

   01:18:33   Alex Murdaugh (Archive)         I don't know the name of it. With the red
                                              roof?

   01:18:33                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              Uh, I don't know the name of it.
                                              With the red roof?

   01:18:37   Anne Emerson                    He was on his way to Charleston. He was
                                              driving his late wife's Mercedes and he gets a
                                              low-pressure alert on the car's dashboard.

   01:18:47                                   GRAPHICS ON SCREEN:
                                              Actual 911 Call
                                              1:34 pm

   01:18:47   Female 911 Operator (Archive)   Okay. What's going on?

   01:18:47                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Okay. What's going on?

   01:18:50   Alex Murdaugh (Archive)         I stop-- I got a flat tire.

   01:18:50                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              I stop... I got a flat tire.

   01:18:51   Female 911 Operator (Archive)   Mm-hm.

   01:18:52   Alex Murdaugh (Archive)         And I stopped and somebody stopped to help
                                              me and when I turned my back, they tried to
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                                              shoot me.

   01:18:52                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Mm-hmmm.

   01:18:52                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              And I stopped, and somebody
                                              stopped to help me.

   01:18:55                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              and when I turned my back,
                                              they tried to shoot me.

   01:19:00   Female 911 Operator (Archive)   Oh, okay. Were you shot?

   01:19:00                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Oh, okay. Were you shot?

   01:19:02   Alex Murdaugh (Archive)         Yes.

   01:19:02                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              Yes...

   01:19:03   Female 911 Operator (Archive)   Oh.

   01:19:03                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Oh-

   01:19:03                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              but, I mean,
                                              I'm okay.

   01:19:03   Alex Murdaugh (Archive)         But, I mean, I'm okay.

   01:19:05   Female 911 Operator (Archive)   You're shot where? Where were you shot at?
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   01:19:05                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              You're shot where?
                                              Where were you shot at?

   01:19:07   Alex Murdaugh (Archive)         Huh?

   01:19:08                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              Huh?

   01:19:08   Female 911 Operator (Archive)   Did they actually shoot you or they tried to
                                              shoot you?

   01:19:09                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Did they actually shoot you,
                                              or they tried to shoot you?

   01:19:11   Alex Murdaugh (Archive)         They shot me but--

   01:19:12                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              They shot me, but-

   01:19:13   Female 911 Operator (Archive)   Okay. Where-- You need EMS?

   01:19:14                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Oh, okay. Where... You need EMS?

   01:19:16   Alex Murdaugh (Archive)         Well, I mean, yes. I-- I can't drive.

   01:19:16                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              Well, I mean, yes. I- I can't drive.

   01:19:20   Female 911 Operator (Archive)   Okay.

   01:19:20                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
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                                              911 Operator:
                                              Okay.

   01:19:20   Alex Murdaugh (Archive)         I'm having trouble seeing and I'm bleeding a
                                              lot.

   01:19:21                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              I'm having trouble seeing
                                              and I'm bleeding a lot.

   01:19:22   Female 911 Operator (Archive)   Where, where-- What part of your body?

   01:19:23                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Where- where...
                                              What part of your body?

   01:19:25   Alex Murdaugh (Archive)         I'm not sure. Somewhere on my head.

   01:19:26                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              Uh, I'm not sure. Somewhere on my head.

   01:19:28   Female 911 Operator (Archive)   Your head?

   01:19:28                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Your head?

   01:19:31   Female 911 Operator (Archive)   Okay, and what's your name?

   01:19:31                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Okay. And what's your name?

   01:19:32   Alex Murdaugh (Archive)         Alex Murdaugh.

   01:19:33                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              Alex Murdaugh.
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   01:19:34                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Alex Murdaugh?

   01:19:34   Female 911 Operator (Archive)   Alex Murdaugh?

   01:19:36   Alex Murdaugh (Archive)         Yes ma'am.

   01:19:36                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              Yes ma'am.

   01:19:39   D'Michelle Dupre                So, 911 dispatches, of course, emergency
                                              personnel and law enforcement as well.

   01:19:45                                   GRAPHICS ON SCREEN:
                                              Actual 911 Call
                                              1:34 pm

   01:19:45   Female 911 Operator (Archive)   And can you give me a description of the
                                              person that shot you, or shot at you?

   01:19:46                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              And can you give me a description
                                              of the person that shot you, or shot at you?

   01:19:50   Alex Murdaugh (Archive)         Yes ma'am. I mean, it was a, a white fella.

   01:19:50                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              Yes ma'am. I mean, it was a, uh,
                                              a while fella, uh-

   01:19:58   Female 911 Operator (Archive)   A white male?

   01:19:59                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              A white male?

   01:20:01   Alex Murdaugh (Archive)         A fair amount younger than me. Really, really
                                              short hair. Do you have an ambulance
                                              coming, ma'am?
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   01:20:01                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              A fair amount younger than me.

   01:20:04                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              uh, really, really short hair.

   01:20:07                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Alex Murdaugh:
                                              Do you have an ambulance coming, ma'am?

   01:20:08   Female 911 Operator (Archive)   Yes, sir. Yes, sir. Stay on the line. I got them
                                              on the way.

   01:20:09                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              911 Operator:
                                              Yes, sir. Yes, sir. Stay on the line.
                                              I got them on the way.

   01:20:13   Anne Emerson                    This is Labor Day weekend and in the middle
                                              of this day, we get an alert that Alex
                                              Murdaugh has been shot. And I got on the
                                              phone with Jim Griffin, who is Alex
                                              Murdaugh's lawyer and said, “Mr. Griffin,
                                              what's happened? What's happened, he's been
                                              shot?” "Yes, he's been shot. He was on the
                                              side of the road. They're trying to get him to a
                                              hospital right now. I just got off the phone
                                              with his brother, Randy." I said, "Is he alive?"
                                              "Yes, he's alive. We don't know what
                                              condition."

   01:20:16                                   GRAPHICS ON SCREEN:
                                              ANNE EMERSON
                                              Investigative Reporter WCIV TV

   01:20:46   Gregg Roman                     My initial reaction was maybe one of the
                                              people that he had wronged finally came back
                                              and dealt with him through an older sense of
                                              justice.

   01:20:55   Anne Emerson                    We were told right after the double murders
                                              that the community wasn't in danger. There
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                                                   was a huge concern that something was going
                                                   on, that someone was taking a hit out on the
                                                   Murdaughs at this point.

   01:21:10   Drew Tripp                           It's just flooring and it sends your mind into
                                                   overdrive, like whoa.

   01:21:18                                        GRAPHICS ON SCREEN:
                                                   Alex is airlifted by helicopter to
                                                   Savannah Hospital in Georgia.

   01:21:25   Gregg Roman                          There are so many questions as it relates to
                                                   the events between the beginning of June,
                                                   when Alex Murdaugh's family members are
                                                   killed and September fourth, 2021 when he
                                                   had been shot in the head.

   01:21:39   D'Michelle Dupre                     The car that Alex was driving at the time, can
                                                   go fifty miles with a flat tire before ever being
                                                   changed. The road that he was on supposedly
                                                   going, I think he said to Charleston, is not the
                                                   road that locals would take to go to
                                                   Charleston.

   01:21:58   Anne Emerson                         We have been taken on so many twists and
                                                   turns in this story and we are still finding out
                                                   what the details are. Every single day we
                                                   wake up to check the press, to check the
                                                   newspapers, to be looking at what's gonna
                                                   happen next.

   01:22:15                                        Break 3

   01:22:21                                        GRAPHICS ON SCREEN:
                                                   Sunday
                                                   September 5, 2021

   01:22:24                                        GRAPHICS ON SCREEN:
                                                   Fox news alert for the shooting of Alex
                                                   Murdaugh.

   01:22:24   Female newsreader, short light       Now, the bizarre chain of violence
              brown hair, blue dress (Archive)     surrounding a prominent South Carolina legal
                                                   family. Attorney Alex Murdaugh is expected
                                                   to survive after being shot in the head
                                                   yesterday.

   01:22:33   Female, long blond hair, pink top,   It seems that the members of their family are
              pink jacket (Archive)                being targeted by someone. Who that is,
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                                                 remains to be seen.

   01:22:40   Brian Foley (Archive)              Certainly the shooter, has gotta be concerned
                                                 that the victim has survived a gunshot to the
                                                 head.

   01:22:43                                      GRAPHICS ON SCREEN:
                                                 Fox news alert for the shooting of Alex
                                                 Murdaugh.

   01:22:46   Female newsreader, short light     There’s so much mystery surrounding this
              brown hair, blue dress (Archive)   family, it’s to imagine that this was random.

   01:22:49                                      GRAPHICS ON SCREEN:
                                                 Fox news alert for the shooting of Alex
                                                 Murdaugh.

   01:22:54   Anne Emerson                       Right after Alex Murdaugh has been in this
                                                 roadside shooting, information starts tumbling
                                                 out that it's not just that straight forward.
                                                 PMPED says that they found out that there
                                                 were some irregularities going on in their law
                                                 firm and they confronted Alex Murdaugh
                                                 about it.

   01:22:58                                      GRAPHICS ON SCREEN:
                                                 ANNE EMERSON
                                                 Investigative Reporter WCIV TV

   01:23:12   Male newsreader                    Alex’s brother Randy issued a statement on
                                                 the situation saying “I love my firm family
                                                 and also love Alex as my brother. While I will
                                                 support him in his recovery, I do not support,
                                                 condone, or excuse his conduct in stealing by
                                                 manipulating his most trusted relationships.”

   01:23:13                                      GRAPHICS ON SCREEN:
                                                 ALEX MURDAUGH'S LAW LICENSE
                                                 SUSPENDED
                                                 DUE TO ALLEGATIONS OF
                                                 MISAPPROPRIATED FUNDS

   01:23:15                                      GRAPHICS ON SCREEN:
                                                 ALEX MURDAUGH'S LICENSE TO
                                                 PRACTICE LAW SUSPENDED

                                                 SC SUPREME COURT

                                                 “I love my firm family and also love Alex as
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                                          my brother.
                                          While I will support him in his recovery, I do
                                          not support,
                                          condone, or excuse his conduct in stealing by
                                          manipulating
                                           his most trusted relationships.”

                                          RANDOLPH "RANDY" MURDAUGH

                                          BROTHER OF ALEX MURDAUGH

   01:23:32                               GRAPHICS ON SCREEN:
                                          Randy Murdaugh

   01:23:32   Anne Emerson                Randy Murdaugh says that his brother has
                                          done some things that he needs to accountable
                                          for. That was a devastating moment in that
                                          Murdaugh dynasty. There are also several
                                          SLED investigations going on, and the
                                          unsolved double murders. At that point, Alex
                                          makes a decision that he's gonna come clean.

   01:23:34                               GRAPHICS ON SCREEN:
                                          Alex Murdaugh

   01:23:48                               GRAPHICS ON SCREEN:
                                          Law Enforcement
                                          Sources: Alex
                                          Murdaugh 'Person

                                          Of Interest' In South Carolina Double
                                          Homicide
                                          Investigation

   01:23:56                               GRAPHICS ON SCREEN:
                                          HOSPITAL FOUND
                                          DRUGS IN MURDAUGH'S

                                          SYSTEM
                                          The hospital records also
                                          appear to support another
                                          assertion Murdaugh's
                                          lawyers have been making
                                          for weeks.

   01:23:59   Drew Tripp                  That's the time that the apparent opioid
                                          addiction is first put out there by Alex's
                                          attorneys.
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   01:24:05   Male newsreader 2 (Archive)         In a statement tonight, Alex Murdaugh writes,
                                                  in part, quote, “The murders of my wife and
                                                  son have caused an incredibly difficult time in
                                                  my life. I have made a lot of decisions that I
                                                  truly regret. I’m resigning from my law firm
                                                  and entering rehab after a long battle that has
                                                  been exacerbated by these murders."

   01:24:05                                       GRAPHICS ON SCREEN:
                                                  ALEX MURDAUGH TO RESIGN FROM
                                                  LAW FIRM
                                                  SOUTH CAROLINA

                                                  “The murders of my wife and son have
                                                  caused an incredibly difficult time in my
                                                  life. I have made a lot of decisions that I truly
                                                  regret."

   01:24:16                                       GRAPHICS ON SCREEN:
                                                  ALEX MURDAUGH TO RESIGN FROM
                                                  LAW FIRM
                                                  SOUTH CAROLINA

                                                  "I’m resigning from my law firm and
                                                  entering rehab after a long battle that has
                                                  been exacerbated by these murders."

   01:24:23   Female newsreader, long brown       Alex Murdaugh is now checked into
              hair, pink floral patterned dress   rehabilitation facility, and is recovering after
                                                  being shot this past weekend.

   01:24:37   Anne Emerson                        It was at least another week before Alex
                                                  Murdaugh told law enforcement another
                                                  version of what happened on Old
                                                  Salkehatchie Road. Basically in rehab he told
                                                  officers that he hired a man named Curtis
                                                  Edward Smith to help him commit suicide so
                                                  it would look like somebody else shot him.

   01:24:59   Drew Tripp                          He hatches a scheme to have himself killed so
                                                  that his son, Buster, will get a $10 million life
                                                  insurance policy settlement, upon Alex's
                                                  death. Alex believing that if he committed
                                                  suicide himself, the policy would not pay out.
                                                  According to Alex's attorney's that's the only
                                                  way out that he saw.

   01:25:12                                       GRAPHICS ON SCREEN:
                                                  DREW TRIPP
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                                            Investigative Producer WCIV TV

   01:25:18                                 GRAPHICS ON SCREEN:
                                            FOX ATTORNEY: MURDAUGH TRIED
                                            TO HAVE HIMSELF EXECUTED
                                            NEWS
                                            channel Fox & friends

   01:25:18   Male newsreader 3 (Archive)   South Carolina lawyer turned himself in after
                                            being accused of arranging his own death for
                                            $10 million in insurance money that his son
                                            would get.

   01:25:28                                 GRAPHICS ON SCREEN:
                                            Alex Murdaugh arrested for allegedly stating
                                            his own SC murder for insurance money

   01:25:32   Michael Virzi                 Everyone was shocked by the sort of fake
                                            suicide for hire thing that happened. So, yeah,
                                            there's no telling what's gonna happen next.

   01:25:34                                 GRAPHICS ON SCREEN:
                                            MICHAEL VIRZI

                                            Attorney, Legal Ethics Expert

   01:25:40   Drew Tripp                    Alex and Curtis Eddie Smith are arrested,
                                            both on charges of insurance fraud related to
                                            the failed assisted suicide attempt.

   01:25:51                                 GRAPHICS ON SCREEN:
                                            News headlines for The Lowcountry's News
                                            Leader.

   01:25:51   Summer Huechtker (Archive)    Agent’s with the South Carolina Law
                                            Enforcement division have arrested 61 year
                                            old Curtis Edward Smith of Colleton County.
                                            State authorities say Smith planned the
                                            shooting with Alex Murdaugh so that
                                            Murdaugh’s surviving son could collect a $10
                                            million life insurance policy. After shooting
                                            Murdaugh in the head, investigators say that
                                            Smith drove to an unknown location where he
                                            disposed of the weapon.

   01:26:18   Anne Emerson                  Curtis Edward Smith, his nickname is Cousin
                                            Eddie. He's not a close familial relationship to
                                            Alex Murdaugh but he's certainly part of the
                                            clan. Alex's lawyers called Eddie Smith,
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                                              Alex's longtime drug dealer. That is not what
                                              Eddie Smith described himself as to me.
                                              Eddie Smith described himself as a buddy, a
                                              brother to Alex Murdaugh.

   01:26:43   Anne Emerson (Archive)          Is Alex somebody that you cared about?

   01:26:44                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Anne Emerson: Is Alex somebody
                                              that you cared about?

   01:26:46   Curtis Edward Smith (Archive)   <SOBS> Yeah, I’d say he was like a brother
                                              to me, I’d have done anything in the world for
                                              him. Almost anyway. It’s just, it, it's crushing
                                              to know that, that evidently I didn’t mean
                                              nothing to nobody, especially him.

   01:26:46                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Curtis Eddie Smith: Yeah, I'd say he
                                              was like a brother to me. I'd a done
                                              anything in the world for him.

   01:26:49                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Curtis Eddie Smith:
                                              Almost, anyway.

   01:26:52                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Curtis Eddie Smith:
                                              It's just it's...

   01:26:55                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Curtis Eddie Smith:
                                              It's crushing.

   01:26:58                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Curtis Eddie Smith:
                                              To know that, that...

   01:27:02                                   GRAPHICS ON SCREEN:
                                              [SUBTITLES]
                                              Curtis Eddie Smith: Evidently, I didn't
                                              mean nothing to nobody,
                                              especially him.
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   01:27:10   Anne Emerson                        According to Eddie Smith he said he couldn't
                                                  believe it when he was arrested on these
                                                  charges because he said, what happened was
                                                  very different that day. He says that he went
                                                  to Old Salkehatchie Road after Alex
                                                  Murdaugh called him and said, "Can you
                                                  please come?" And he did. He saw his friend
                                                  in a lot of distress and very upset. When Alex
                                                  pulled out the gun, they grappled and the gun
                                                  did go off and it did graze the back of Alex's
                                                  head but he was fine, to the point where he
                                                  drove off. He wasn't going there to kill Alex
                                                  Murdaugh. According to Eddie's lawyers, he
                                                  was going there to save him.

   01:27:54   Male newsreader, short dark hair,   Everyone around this guy seems to die,
              pink shirt, pink tie, blue jacket   except him, when coincidentally, he wants to
              (Archive)                           die. That’s the big question, Lawrence. How
                                                  does a guy that you hire to kill you misses?
                                                  How does he fail at that? That’s the lead to
                                                  me.

   01:27:54                                       GRAPHICS ON SCREEN:
                                                  Fox News Primetime headline banner about
                                                  the mystery deepening following the
                                                  shooting.

   01:28:11                                       GRAPHICS ON SCREEN:
                                                  September 16, 2021
                                                  Twelve days after the shooting.
                                                  Hampton County Courthouse.

   01:28:20   Drew Tripp                          So, Alex's bond hearing is in mid-September
                                                  related to the assisted suicide attempt and
                                                  insurance fraud scheme.

   01:28:29   Anne Emerson                        He was driven straight from rehab to the
                                                  Hampton County Courthouse.

   01:28:34   Female judge, long black hair,      Today is Thursday, September 16th, 2021.
              black shirt (Archive)               We’re here for a bond hearing for Richard
                                                  Alexander Murdaugh.

   01:28:34                                       GRAPHICS ON SCREEN:
                                                  [SUBTITLES]
                                                  Judge: Today is Thursday,
                                                  September 16th, 2021.
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   01:28:38                                GRAPHICS ON SCREEN:
                                           [SUBTITLES]
                                           Judge: We’re here for a bond
                                           hearing for Richard Alexander
                                           Murdaugh.

   01:28:45   Anne Emerson                 It was a reversal of fortune for Alex
                                           Murdaugh. This was a very powerful, well-
                                           respected lawyer who had graced these
                                           courtrooms many, many times before. He was
                                           in handcuffs. He was wearing prison garb. So,
                                           where was the gunshot wound, is what
                                           everybody wanted to know. When people are
                                           staring at a back of a head and you can't find a
                                           wound, it was incredibly hard for people to
                                           understand what really happened to him that
                                           day.

   01:29:16                                GRAPHICS ON SCREEN:
                                           Dick Harpootlian

                                           Murdaugh Defense Attorney

   01:29:16                                GRAPHICS ON SCREEN:
                                           [SUBTITLES]
                                           Dick Harpootlian: He was shot in the
                                           back of the head. A bullet uh...

   01:29:18   Dick Harpootlian (Archive)   He was shot in the back of the head. A bullet
                                           didn’t actually penetrate his skull, went in an
                                           entrance and exit wound. He may have had a
                                           minor skull fracture and some minor bleeding
                                           on the brain.

   01:29:20                                GRAPHICS ON SCREEN:
                                           [SUBTITLES]
                                           Dick Harpootlian: Didn't actually
                                           penetrate his skull, went in there was
                                           an entrance and exit wound.

   01:29:24                                GRAPHICS ON SCREEN:
                                           [SUBTITLES]
                                           Dick Harpootlian: He may have had a
                                           minor skull fracture.

   01:29:26                                GRAPHICS ON SCREEN:
                                           [SUBTITLES]
                                           Dick Harpootlian: And some minor
                                           bleeding on the brain.
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   01:29:29   Gregg Roman                      Alex Murdaugh has been so cold and so
                                               calculating and so deliberate in every single
                                               action in his life from the time that he became
                                               a lawyer to the time that he allegedly tried to
                                               engineer his own death.

   01:29:33                                    GRAPHICS ON SCREEN:
                                               GREGG ROMAN
                                               Investigative Journalist

   01:29:40   Female judge, long black hair,   His total bond is going to be $20,000.
              black shirt (Archive)            Personal recognizance. Do you understand
                                               that?

   01:29:41                                    GRAPHICS ON SCREEN:
                                               [SUBTITLES]
                                               Judge: His total bond is going to be
                                               $20,000.

   01:29:44                                    GRAPHICS ON SCREEN:
                                               [SUBTITLES]
                                               Judge: Personal recognizance.

   01:29:45                                    GRAPHICS ON SCREEN:
                                               [SUBTITLES]
                                               Judge: Do you understand
                                               that?

   01:29:46   Alex Murdaugh (Archive)          Yes ma'am.

   01:29:46                                    GRAPHICS ON SCREEN:
                                               [SUBTITLES]
                                               Alex Murdaugh: Yes, ma'am.

   01:29:47   Female judge, long black hair,   And that'll be the order of the court.
              black shirt (Archive)

   01:29:47                                    GRAPHICS ON SCREEN:
                                               [SUBTITLES]
                                               Judge: That'll be the order of the court.

   01:29:51   Anne Emerson                     After this hearing, he is allowed to leave the
                                               state of South Carolina and go to rehab down
                                               in Florida. That's when the State starts
                                               preparing its case against him. There are
                                               several allegations that they've been looking
                                               into. Multiple investigations that they are still
                                               working on.
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   01:30:08                               GRAPHICS ON SCREEN:
                                          SLED OPENS INVESTIGATION INTO
                                          ALLEGATIONS OF
                                          MISAPPROPRIATED FUNDS BY ALEX
                                          MURDAUGH

   01:30:14   Drew Tripp                  The state police announce they're
                                          investigating Alex Murdaugh for financial
                                          crimes, potential theft of funds from clients,
                                          his law firm.

   01:30:35   Anne Emerson                As Alex is sitting in rehab, this money that he
                                          allegedly misappropriated starts coming to
                                          light. Now, the State is ready to charge him
                                          again.

   01:30:43                               GRAPHICS ON SCREEN:
                                          Suits: Fake account with similar name key to
                                          Murdaugh scheme.

   01:30:48   Drew Tripp                  He's indicted again in October on criminal
                                          charges related to the death of Gloria
                                          Satterfield after it's revealed Alex Murdaugh
                                          stole roughly $4.3 million from Gloria
                                          Satterfield's estate.

   01:30:57                               GRAPHICS ON SCREEN:
                                          Various newspaper headlines relating to Alex
                                          Murdaugh's fraud.

   01:31:04                               GRAPHICS ON SCREEN:
                                          On October 14, 2021,
                                          Alex Murdaugh is released from
                                          rehab in Orlando, Florida.

   01:31:13   Drew Tripp                  State police in Florida are there waiting on
                                          him and pick him up as he walks out of the
                                          rehab facility and they're preparing to
                                          extradite him back to South Carolina to face
                                          charges.

   01:31:22                               GRAPHICS ON SCREEN:
                                          On October 19, 2021, Alex Murdaugh
                                          appears at a second hearing to determine
                                          if he will be released on bond.

   01:31:29                               GRAPHICS ON SCREEN:
                                          Richmond County Courthouse
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   01:31:31   Anne Emerson                 When this bond hearing happens, it is literally
                                           a packed courtroom. In just a period of a few
                                           months, it has turned into an international
                                           media circus and there are literally stations
                                           from all over the country, you can feel the
                                           pressure and the tension of what's going on
                                           with the prosecutors and the lawyers. The
                                           courtroom’s also filled with the Satterfields,
                                           the sons of Gloria Satterfield.

   01:31:41                                GRAPHICS ON SCREEN:
                                           LIVE.LOCAL.NOW.

   01:32:05   Creighton Waters (Archive)   Your Honor, we’re here today in the case of
                                           state versus Richard Alexander Murdaugh. He
                                           is here for a bond setting on two Beaufort
                                           County arrest warrants.

   01:32:08                                GRAPHICS ON SCREEN:
                                           Creighton Waters
                                           Chief Attorney

   01:32:16   Anne Emerson                 We expected that the Satterfields' lawyer
                                           would be making a speech saying, you know,
                                           these are terrible crimes against against the
                                           Satterfields.

   01:32:26   Eric Bland (Archive)         Your honor, my partner and I have been doing
                                           legal malpractice for 30 years and we have
                                           never seen such a breach of trust. A man who
                                           stole money from the very family of the
                                           housekeeper that helped raise his kids.

   01:32:29                                GRAPHICS ON SCREEN:
                                           Eric Bland
                                           Satterfield Family Attorney

   01:32:43   Creighton Waters (Archive)   He had all that money, he absconded with that
                                           money, he transferred it into his personal
                                           accounts and he used it for his own personal
                                           use.

   01:32:52   Anne Emerson                 But what we didn't expect was when the
                                           prosecution came forward and said that we
                                           believe that there are multiple crimes that
                                           allegedly were committed by this man.

   01:33:03   Creighton Waters (Archive)   Your Honor, this is an ongoing investigation,
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                                                    you honor. This is the tip of the iceberg. It is,
                                                    this is an ongoing investigation and I think
                                                    there’s going to be far more that we reveal as
                                                    we review these records.

   01:33:06                                         GRAPHICS ON SCREEN:
                                                    Creighton Waters
                                                    Chief Attorney

   01:33:15   Anne Emerson                          The judge wanted to know why they thought
                                                    that so, there was a SLED agent there and for
                                                    a SLED agent to come forward and talk to the
                                                    judge, it was an incredibly tense moment.
                                                    You could literally feel this packed courtroom
                                                    lean in.

   01:33:32   SLED Special Agent Turner             The South Carolina Law Enforcement
              (Archive)                             Division, we are investigating multiple
                                                    different allegations, or investigations at this
                                                    point at this time to include the Stephen Smith
                                                    death, which you’re aware of. The actual
                                                    cause of Miss Satterfield’s death, we’re
                                                    looking into that. The financial case that
                                                    you’re here with today and numerous other
                                                    financial investigations dealing with, with
                                                    fraud or possible other criminal actions.
                                                    That’s not to say that there won’t be
                                                    additional charges brought forth in the future.

   01:33:34                                         GRAPHICS ON SCREEN:
                                                    Special Agent Turner
                                                    South Carolina Law Enforcement Division

   01:34:00   Male judge, white shirt, black tie,   Mr. Murdaugh, is there anything you’d like to
              black jacket, glasses (Archive)       say concerning bond?

   01:34:01                                         GRAPHICS ON SCREEN:
                                                    [SUBTITLES]
                                                    Judge: Mr. Murdaugh, is there anything
                                                    you’d like to say concerning bond?

   01:34:05   Alex Murdaugh (Archive)               No, sir, Your Honor.

   01:34:05                                         GRAPHICS ON SCREEN:
                                                    [SUBTITLES]
                                                    Alex Murdaugh: No, sir, your
                                                    honor.

   01:34:07   Male judge, white shirt, black tie,   I am therefore denying bond at this time, and
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              black jacket, glasses (Archive)   I require that Mr. Murdaugh to undergo a
                                                psychiatric evaluation to be submitted to the
                                                court for further consideration at a later date.
                                                And that’s the order of the court.

   01:34:07                                     GRAPHICS ON SCREEN:
                                                [SUBTITLES]
                                                Judge: I am therefore denying bond
                                                at this time,

   01:34:11                                     GRAPHICS ON SCREEN:
                                                [SUBTITLES]
                                                Judge: and I require that Mr. Murdaugh
                                                undergo a psychiatric evaluation

   01:34:16                                     GRAPHICS ON SCREEN:
                                                [SUBTITLES]
                                                Judge: to be submitted to the court

   01:34:20                                     GRAPHICS ON SCREEN:
                                                [SUBTITLES]
                                                Judge: for further consideration
                                                at a later date.

   01:34:24                                     GRAPHICS ON SCREEN:
                                                [SUBTITLES]
                                                Judge: And that's the
                                                order of the court.

   01:34:27   Anne Emerson                      The judge issued no bond and when he said
                                                no bond, you could literally hear the gasps in
                                                the courtroom. There was no way we could
                                                have expected for the judge to literally that
                                                Alex Murdaugh was going to remain behind
                                                bars.

   01:34:43                                     GRAPHICS ON SCREEN:
                                                Suits: Fake account with similar name key to
                                                Murdaugh scheme.

   01:34:44   Eric Bland (Archive)              I think it’s a good day for justice. We’re
                                                pleased, we thought that Alex is a danger to
                                                not only our clients but society. We think it’s
                                                a good decision and it's just a good day for
                                                justice in our country.

   01:34:50                                     GRAPHICS ON SCREEN:
                                                Eric Bland
                                                Satterfield Family Attorney
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   01:35:02   Gregg Roman                     Alex Murdaugh faces charges against him for
                                              a milieu of different alleged crimes, for
                                              insurance fraud to swindling to theft. Not to
                                              mention the lawsuits which are knocking on
                                              his door.

   01:35:18   Anne Emerson                    What we were told when he was led out of the
                                              courtroom in handcuffs was that he was going
                                              to go under a psychological evaluation to see
                                              what kind of state he was really in. So,
                                              immediately, we were thinking, how long
                                              would this actually hold? How long would
                                              they hold Alex Murdaugh in jail?

   01:35:39                                   Break 4

   01:35:46                                   GRAPHICS ON SCREEN:
                                              MURDAUGH FAMILY INVESTIGATIONS
                                              MURDER OF PAUL & MAGGIE
                                              MURDAUGH

                                              DEATH OF STEPHEN SMITH
                                              DEATH OF GLORIA SATTERFIELD

                                              OBSTRUCTION OF JUSTICE
                                              INSURANCE FRAUD
                                              MISAPPROPRIATING FUNDS

   01:35:46   Jonna Spilbor (Archive)         I don’t know if I’ve ever seen a life unravel
                                              faster than Alex Murdaugh’s.

   01:35:48                                   GRAPHICS ON SCREEN:
                                              UNRAVELING THE MURDAUGH
                                              FAMILY CRIMINAL SAGA

   01:35:52   Female newsreader, long blond   Murdaugh is facing new charges now for
              hair, black top, blue jacket    scamming millions of dollars allegedly
              (Archive)

   01:35:55                                   GRAPHICS ON SCREEN:
                                              UNRAVELING THE MURDAUGH
                                              FAMILY CRIMINAL SAGA

   01:35:57   Anne Emerson                    Not only did he now have the double murders
                                              hanging over everything, he was also still
                                              dealing with this fatal boat crash and being
                                              sued by Mallory Beach's mother. As one case
                                              is uncovered, another one is uncovered and
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                                          these are all financial crimes. All kinds of
                                          new information coming out practically by
                                          the week. Investigations that are now circling
                                          the Murdaugh family. Now the charges start
                                          snowballing for Alex Murdaugh.

   01:35:57                               GRAPHICS ON SCREEN:
                                          ANNE EMERSON
                                          Investigative Reporter WCIV TV

   01:36:02                               GRAPHICS ON SCREEN:
                                          Man charged in fatal boat
                                          crash, mom found shot to
                                          death outside their home

   01:36:06                               GRAPHICS ON SCREEN:
                                          RICHARD
                                          ALEXANDER MURDAUGH,

   01:36:10                               GRAPHICS ON SCREEN:
                                          Suits: Fake account with similar name key to
                                          Murdaugh scheme

   01:36:20                               GRAPHICS ON SCREEN:
                                          Various news headlines relating to Alex
                                          Murdaugh's arrest.

   01:36:25                               GRAPHICS ON SCREEN:
                                          SLED OPENS INVESTIGATION INTO
                                          ALLEGATIONS OF
                                          MISAPPROPRIATED FUNDS BY ALEX
                                          MURDAUGH

   01:36:27                               GRAPHICS ON SCREEN:
                                          Graphic showing the particulars of what Alex
                                          Murdaugh was charged with.

   01:36:28                               GRAPHICS ON SCREEN:
                                          RICHARD ALEXANDER MURDAUGH

                                          DESCRIPTION OF OFFENSE
                                          FILING OF FALSE POLICE REPORT
                                          16-17-722

   01:36:30                               GRAPHICS ON SCREEN:
                                          MURDAUGH MURDER MYSTERY
                                          DEEPENS

   01:36:30   Mark Eiglarsh (Archive)     His family founded this firm that he was
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                                            tangled with and apparently he was stealing
                                            money as well?

   01:36:36   Linda Hiers                   You think you know a person, but then to turn
                                            around and see him as this person here, I don't
                                            know what went wrong or what happened but
                                            no, he's not the person that I was--I grew up
                                            with.

   01:36:45                                 GRAPHICS ON SCREEN:
                                            LINDA HIERS

                                            Friend of Gloria Satterfield

   01:36:51   Kimberly Brant                This is a Pandora’s box. It's already open. I
                                            think the best thing to do is for everyone to
                                            tell everything they know. Just put it out
                                            there, and let the chips fall.

   01:36:55                                 GRAPHICS ON SCREEN:
                                            KIMBERLY BRANT
                                            Hampton Native

   01:37:03                                 GRAPHICS ON SCREEN:
                                            On December 13, 2021,
                                            Alex Murdaugh is granted
                                            another bond hearing.

   01:37:08                                 GRAPHICS ON SCREEN:
                                            Various headlines on the new charges Alex
                                            Murdaugh is facing.

   01:37:08   Drew Tripp                    Several more indictments from the state grand
                                            jury come down on more financial crime
                                            charges. And this time, the judge did set bond.

   01:37:15                                 GRAPHICS ON SCREEN:
                                            DREW TRIPP
                                            Investigative Journalist WCIV TV

   01:37:19                                 GRAPHICS ON SCREEN:
                                            The Low Country's News Leader's headline
                                            on the new bond set for Alex Murdaugh and
                                            the details.

   01:37:19   Female newsreader (Archive)   The judge set his bond at $7 million. Judge
                                            Lee did cite concerns about Murdaugh's flight
                                            risk.
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   01:37:26   Anne Emerson                     That number, seven million, was allegedly the
                                               amount of money that was stolen from
                                               various clients of Alex Murdaugh.

   01:37:36   Female newsreader, short black   Murdaugh’s lawyers say setting it that high is
              hair, black dress, necklace      basically the same as not granting bond at all.
              (Archive)

   01:37:37                                    GRAPHICS ON SCREEN:
                                               THE LOWCOUNTRY'S NEWS LEADER
                                               JUDGE TO ISSUE A WRITTEN ORDER
                                               LAWYERS FOR MURDAUGH REQUEST
                                               A LOWER BOND
                                               No decision yet on bond reduction for Alex
                                               Murdaugh

   01:37:47   Anne Emerson                     The fall from grace for Alex Murdaugh has
                                               been substantial. His brother's suing him and
                                               he sits in jail. He has been suspended
                                               indefinitely as a lawyer in the State of South
                                               Carolina. His name is no longer on the family
                                               law firm.

   01:37:51                                    GRAPHICS ON SCREEN:
                                               News headlines concerning PMPED's
                                               response to the allegations about Alex
                                               Murdaugh.

   01:38:06   Michael Virzi                    Even though it was Peters, Murdaugh, Parker,
                                               Eltzroth & Detrick, it was known as the
                                               Murdaugh firm. So, removing that name is
                                               significant.

   01:38:06                                    GRAPHICS ON SCREEN:
                                               MICHAEL VIRZI

                                               Attorney, Legal Ethics Expert

   01:38:13                                    GRAPHICS ON SCREEN:
                                               LOCAL NEWS
                                               PMPED law firm strips
                                               Murdaugh name

   01:38:17   Drew Tripp                       All those years of well-earned cache and
                                               clout, now thrown away by the actions of one
                                               partner.

   01:38:28   Female newsreader, shoulder      The suspended attorney Alex Murdaugh is
              length blond hair, black dress   expressing wrong doing for the first time
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              (Archive)                               since facing a mountain of legal troubles. He
                                                      agreed he owes $4 million to the family of his
                                                      former housekeeper.

   01:38:36                                           GRAPHICS ON SCREEN:
                                                      Murdaugh Hid Millions From Dead
                                                      Housekeeper <OBSCURED BY
                                                      TIMECODE>
                                                      Docs

   01:38:40   Female newsreader, shoulder             There are new victims in the Murdaugh
              length blond hair, pink top             money mess, 27 new charges related to
                                                      money fraud.

   01:38:42                                           GRAPHICS ON SCREEN:
                                                      Various news headlines about the charges
                                                      faced by Alex Murdaugh.

   01:38:44   Eric Bland (Archive)                    There is wire fraud, there’s bank fraud,
                                                      there’s mail fraud, there’s conspiracy.

   01:38:49   Amaris Jenkins (Archive)                Facing more than a dozen new indictments.

   01:38:51   Male newsreader, gray shirt, tie        Now facing 21 additional charges.
              and jacket, glasses (Archive)

   01:38:53   Female newsreader, short brown          Five new indictments.
              hair, red leopard print top,
              necklace (Archive)

   01:38:54   Female newsreader 3 (Archive)           Money laundering, forgery, breech of trust
                                                      and computer crime charges.

   01:38:59   Male newsreader, short brown            Now facing more than 70 charges.
              hair, white shirt, striped tie, black
              jacket (Archive)

   01:39:00   Male newsreader 4 (Archive)             And Murdaugh faces 75 total charges and
                                                      stands accused of defrauding victims out of
                                                      more than 8 million dollars.

   01:39:14   Gregg Roman                             While it was despicable what Paul Murdaugh
                                                      did the evening that Mallory Beach was
                                                      killed, Alex Murdaugh was one hundred times
                                                      more evil. He stole from people he was
                                                      supposed to protect. He crashed his family's
                                                      four generation legal dynasty and now he
                                                      faces dozens of criminal acts because the
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                                                people he was supposed to help he has cursed
                                                and he has ruined.

   01:39:28                                     GRAPHICS ON SCREEN:
                                                GREGG ROMAN
                                                Investigative Journalist

   01:39:38   Michael Virzi                     People with power, they start believing they
                                                can get away with things, right? They can get
                                                away with things because their family's been
                                                running the solicitor's office for generations.
                                                To me, these are the kind of people we should
                                                be more suspicious about.

   01:39:55   Anne Emerson                      There's just so many investigations that we're
                                                still waiting for answers on. Every time we
                                                turn over one rock, we just find another rock
                                                to turn over.

   01:40:07   Female 911 Operator 2 (Archive)   911, where is your emergency?

   01:40:07                                     GRAPHICS ON SCREEN:
                                                [SUBTITLES]
                                                911 Operator:
                                                9-1-1, Where's your emergency?

   01:40:07                                     GRAPHICS ON SCREEN:
                                                Actual 911 Call
                                                February 24, 2019
                                                2:26 am

   01:40:09                                     GRAPHICS ON SCREEN:
                                                [SUBTITLES]
                                                Connor Cook:
                                                We're in a boat crash
                                                on Archers Creek.

   01:40:09   Connor (Archive)                  We're in a boat crash on Archers Creek.

   01:40:12   Gregg Roman                       The Murdaugh family saga started with the
                                                death of Mallory Beach.

   01:40:17                                     GRAPHICS ON SCREEN:
                                                Actual 911 Call
                                                2:26 am

   01:40:17                                     GRAPHICS ON SCREEN:
                                                [SUBTITLES]
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                                          Mallory.

   01:40:17   Female on boat (Archive)    Mallory!

   01:40:19                               GRAPHICS ON SCREEN:
                                          Since the 2019 boat crash,
                                          19 lawsuits naming Alex Murdaugh
                                          as a defendant have been filed.

   01:40:25   Gregg Roman                 The boat crash was the kindling, the tinder
                                          and fuel that exposed the corruption and
                                          nefariousness of the Alex Murdaugh empire.

   01:40:35                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          This is Alex Murdaugh at
                                          4147 Moselle Road.

   01:40:35   Alex Murdaugh (Archive)     This is Alex Murdaugh at 4147 Moselle
                                          Road. My wife and child have been shot
                                          badly.

   01:40:36                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          June 7, 2021
                                          10:07 pm

   01:40:39                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Alex Murdaugh:
                                          My wife and child have been shot badly.

   01:40:42                               GRAPHICS ON SCREEN:
                                          The murders of
                                          Paul Murdaugh and his mother Maggie
                                          remain unsolved.

   01:40:49   D'Michelle Dupre            Paul was driving the boat, Paul is with Gloria
                                          Satterfield and then Paul was killed. The
                                          murders for Maggie and Paul were the
                                          catalysts for the investigation into Stephen
                                          Smith.

   01:41:00                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #5:
                                          He said, because he
                                          had heard that
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   01:41:00   Friend #5 (Archive)         He said because he had heard that Buster and
                                          Stephen were together.

   01:41:00                               GRAPHICS ON SCREEN:
                                          Actual Police Interview Audio
                                          August 6, 2015

   01:41:02                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Friend #5:
                                          Buster and Stephen were
                                          together.

   01:41:05   Kimberly Brant              My heart breaks for Sandy Smith because
                                          Sandy doesn't know at whose hand her son
                                          died. And she deserves to know. So, I hope
                                          somebody can find it in her heart to tell the
                                          truth. Just, just tell the truth.

   01:41:19                               GRAPHICS ON SCREEN:
                                          Stephen Smith's death
                                          continues to be investigate by the
                                          South Carolina Law Enforcement Division.

   01:41:26   Maggie Murdaugh (Archive)   She’s on the ground, She’s on the ground,
                                          She’s on the ground.

   01:41:26                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Okay. Is she on the ground or is she
                                          up near the top?

   01:41:26                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          She's on the ground.
                                          She's on the ground.

   01:41:26                               GRAPHICS ON SCREEN:
                                          Actual 911 Call
                                          February 2, 2018
                                          9:24 am

   01:41:28                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          She's on the ground.
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   01:41:29                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          911 Operator:
                                          Is she conscious?

   01:41:29   Female 911 operator 3       Is she conscious?

   01:41:29                               GRAPHICS ON SCREEN:
                                          [SUBTITLES]
                                          Maggie Murdaugh:
                                          No. Not really.

   01:41:29   Maggie Murdaugh (Archive)   No, not really.

   01:41:30   Linda Hiers                 Honestly, I don't know what happened to
                                          Gloria. Tony and Brian, they have lost their
                                          mom. I don't care how much money is
                                          involved. It's not gonna bring their mom back.

   01:41:35                               CREDITS BEGIN

                                          Executive Producer
                                          GENO McDERMOTT

                                          Executive Producer
                                          JOE DANISI

                                          Co-Executive Producer
                                          JULIE SISSON

                                          Executive Producer
                                          VICKY WARD
                                          GREGG ROMAN

                                          Line Producer
                                          GRACE WOOD

                                          Supervising Producer
                                          & Writer
                                          VAN KING

                                          Lead Editor
                                          ANDREW ADOLPHUS

                                          Additional Editors
                                          AM PETERS
                                          BRIAN KUSHNER
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                                          GREG ASTOR

                                          Additional Editors
                                          JAMES STEELMAN

                                          MIKE DEGL'INNOCENTI

                                          Lead Assistant Editor
                                          ULYSSES ADAMS

                                          Story Producer
                                          JORDAN VESSEY

                                          Associate Producers
                                          LIZZIE MULVEY

                                          ADRIENNE CAMINER

                                          Director of Photography
                                          CHRIS MOORE

                                          Additional Photography
                                          & Drone Operator
                                          KELSEY ROCKS ALLEN

                                          Gaffers
                                          GUS ARVANITOPOULOS

                                          BRIAN SACHSON

                                          Swing
                                          AMBROSE CARROLL
                                          ALEX KORPI

                                          Camera Operators
                                          ALEX LEVIN
                                          CLAY HERETH

                                          Audio Mixer
                                          JOSIAH GRAF

                                          Assistant Camera
                                          AARON LENHART

                                          LIAM NART

                                          Production Managers
                                          BETH LASCHEVER
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                                          CONOR SCHNARR

                                          Production Coordinators
                                          JILL BRAMMER

                                          AMANDA BAEZ

                                          Art Directors
                                          CAZ SLATTERY

                                          LISSETTE EMMA

                                          Art Assistant
                                          DAISY LAGUNAS

                                          Production Assistants
                                          JARED TIDWELL

                                          SAMANTHA GONZALEZ
                                          CHE WILLIAMS

                                          Casting Director
                                          STEPHANIE NANES

                                          Hair and Makeup Artist
                                          DARLENE MAJESKY

                                          Colorist & Online Editor
                                          SETH APPLEBAUM

                                          Re-recording Mixer
                                          JEFF FORMOSA

                                          Audio Post Production
                                          DUBWAY STUDIOS, NYC

                                          Graphics Producers
                                          JOE RUSSO II
                                          SHAUN O'STEEN

                                          Motion Graphics by
                                          QUANTUM FIGURES

                                          Additional Graphic Artist
                                          MAX WOLKOWITZ

                                          Music Provided by
                                          MIBE MUSIC
                                          STRIKE AUDIO
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                                          MAXWELL A. KAUFMAN

                                          EVP, Finance
                                          BREE SHEEHAN

                                          SVP, Development
                                          JORDAN ROSENBLUM

                                          Director, Post Production
                                          MICHAEL RICKARD

                                          For Discovery, Inc.

                                          VP of Production
                                          THOMAS CUTLER

                                          Associate Producer
                                          ANNIE MANGONE

                                          Produced by Blackfin

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   01:41:44                               GRAPHICS ON SCREEN:
                                          Gloria Satterfield's's <SIC> death
                                          continues to be investigated by the
                                          South Carolina Law Enforcement Division.

   01:41:52   Anne Emerson                The breadth and the width of the scandals and
                                          the deaths that surround it, this is a case that I
                                          don't think we're ever gonna see anything like
                                          it again.

   01:42:05                               GRAPHICS ON SCREEN:
                                          Alex Murdaugh remains in jail.

   01:42:09                               GRAPHICS ON SCREEN:
                                          According to his legal representatives,
                                          he is unable to pay
                                          his $7,000,000 bond.

   01:42:13                               GRAPHICS ON SCREEN:
                                          He is charged with 75 felony counts
                                          and faces a total of 731 years in prison.
